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                                                                                                    /6P                                      l:
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                                                                                                                 MAY    10     2018
                                  UNITED STATES DISTRICT COURT
                              FoR rHE NoRTHERN DrsrRrcr oF rl,rrNoulrH^?Ul.fr8rR[?I8il*,


                                                              )
                                                              )
                                                              )
                                                              )         1:18-cv-03361
Plaintiff(s),                                                 )     c Judge John J- TharP, Jr
                                                     ,)
                                                              )          Mai'isfate Judge Daniel G' Martin
                                                              )




                          'Thctl4ll,eryw@
                          COMPLAINT OF EMPLOYMENT DISCRIilfi NATION

 l.   This is an action for employment discrimination.

 2.   The plaintiff is                                                                                                          of the

 county of                                                            in the state of

 3.   rhe defend"rt        ir       Th{,     Uhi{td +&4,                                                                      , whose

 street address is

 (city)                          (county)                           (state)                          (zrP)

 (Defendant's telephone           number) (_) -
 4.   The plaintiff sought employment or was employed bythe defendant at (street address)

                   gti\ftrrUr'0t40                                                     oitt ll L
      (county)                        (state) N
                                                      t1          (ZrP code)




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          The plaintiff lcheck one boxl

          (a) ,E               was denied employment by the defendant.

          (b) H                was hired and is still employed by the defendant.

          (c)                  was employed but is no longer employed by the defendant.
                   A
          The defendant discriminated against the plaintiff on or alout, or beginning on or about,
          (month)                            ,   (day)_,(year)                 2or(
                                                                               butK'
          (Choose paragraph 7.1              or   7.2, do   not complete both.)

          (a)       The defendant is not a federal governmental agency, and the plaintiff
                    lcheck one boxl frhas          not filed a charge or charges against the defendant
                                                     Wot
                    asserting the acts of discrimination indicated in this complaint with any of the

                    following government agencies:

                    (i) F,n.          United States Equal Employment Opportunity Commission, on or about

                               (month)                       (day)-                (vear)-
                    (ii) tr        the Illinois Department of Human Rights, on or about

                               (month)                       (day)-                (year)-.
          (b)       If   charges were ftled with an agency indicated above, a copy of the charge ts

                    attached.W Yes, EI No, but plaintiff will file a copy of the charge within 14 days.


          It is the policy of both the Equal Employment Opportunity Commission and the Illinois

          Department of Human Rights to cross-file with the other agency all charges received. The

          plaintiff has no reason to believe that this policy was not followed in this case.



7.2       The defendant is a federal governmental agency, and

          (a)            the   plaintiff previously filed    a Complaint       of Employment Discrimination with the

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         defendant asserting the acts of discrimination indicated in this court complaint.

                         E   Yes (month)                                  (day)_             (year)

                         €vNo,     did not file Complaint of Employment Discrimination

         (b)             The plaintiff received a Final Agency Decision on (month)

                         (day)                 (year) 2Sl4
         (c)             Attached is a copy of the

                              -
                         (i) Complaint of Employment Discrimination,

                             $-V"r [1 No, but a copy will be filed within 14 days.
                         (ii) Final Agency Decision

                                   Yes fl        N0, but a copy will be filed within 14 days.


         (Complete paragraph 8 only if defendant is not a.federal governmental agency.)

         (a)        tr       the United States Equal Employment Opportunity Commission has not

                             issued a Notice of Right to Sue.

         O)W             the United States Equal Employment Opportunity Commission has issued

                             a   Notice of Right to Sue, which was received by the plaintiff on

                             (month)                          (day)_                (year)_                 a copy    of which

                             Notice is attached to this complaint.


         The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

         those that applyl:

         (a) (Ot.                (Age Discrimination Emplol,rnent Act).

         (b)        E Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $ 198 I ).

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         (c) tr       Disability (Americans with Disabilities Act or Rehabilitation Act)

         (d) EI National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $ l98l).
         (e) E        Race (Title     VII of the Civil Rights Act of             1964 and 42 U.S.C.         $   l98l   ).

         (0       p(netigion (Title vll of the Civil Rights Act of 1964)
         (g) EI Sex (Title VII of the Civil Rights                   Act of 1964)


r0.       If the defendant is a state, county, municipal (city, town or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

         national origin (42 U.S.C. $ 1983).


IL       Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

         by 28 U.S.C.$1331,28 U.S.C.$1343(aX3), and42 U.S.C.$2000e-5(0(3); for 42

         U.S.C.$1981 and $1983 by 42 U.S.C.$1988; forthe A.D.E.A.by 42 U.S.C.$l2l17; forthe

         Rehabilitation Act, 29 U.S.C. $ 791.


t2.      The defendant lcheck only those that applyl
         fu)S failed to hire the plaintiff.
         (b)B         terminated the plaintiff s employment.

         (.)G.        failed to promote the plaintiff.

         (dN[ failed to reasonably accommodate the plaintiffls religion.
         ("\F         failed to reasonably accommodate the plaintiff s disabilities.

         (0           failed to stop harassment;
               d"
         (g)     ($. retaliated against the plaintiff because the plaintiff did something to assert rights
                  ' protected by the laws identified in paragraphs 9 and l0 above;
         (h)     tr   other (specify):


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I3.       The facts supporting the plaintiff s claim of discrimination are as follows:

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           E*,('oWle*{a
            au.sltitrth'txLo*Ws




t4.       IAGE DISCRIMINATION ONLyf Defendant knowingly, intentionally, and willfully
          discriminated against the plaintiff.

15.       The plaintiff demands that the case be tried by a jury.
                                                                                        f,   Yes    tr   No

16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
          lcheck only those that apply)

          (a)                 Direct the defendant to hire the plaintiff.
                        4
          (b)                 Direct the defendant to re-employ the plaintiff.
                        f,
          (c)           @     Oirect the defendant to promote the plaintiff.

          (d)                 Oirect the defendant to reasonably accommodate the plaintiff s religion.
                        f,
          (e)            tr   Direct the defendant to reasonably accommodate the plaintiff s disabilities.

          (0             tr   Direct the defendant to (specify):




                 [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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                         vBrlfIquidated/double damages, front pay, compensatory damages, punitive
           (e)                  available, grant the plaintiff appropriate injunctive relief,lost wages,

                                damages, prejudgment interest, post-judgment interest, and costs, including
                                reasonable attomey fees and expert witness fees.

           (h)           E-Grant       such other relief as the Court may find appropriate.




           (Plaintiff       s




           (Plaintiff       s




           rcityl        lJe,4o&                        (state)    IVtl           rzrey 100)l

           (Plaintiff s telephone number) {'/.,&                 1- €?,b -515b

                                                                                       Date:                                Z6t(




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                                                                                      United States District Court
                                                                                      Northern District of lllinois
                       Plaintiff




                       Defendant

                                                      COMPLAINT

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  INVESTIGATORY STOP REGEIPT
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   You were thegbi            Stop by05/10/18
                                     the      Page 8 of 9 P
                                             PolwDeOarlmenl.
   Officer

   Ofiicer-
   -.--
   Reason(s) for the Stop (Check all that apply).

  tr    AcroNS rNDrcATtvE oF     ENGAGTNG tN DRUG TMNSACTToN

  tr     Frrs DEScRrproN FRoM FLASH MESsAGE

  &     Frrs DEScRlproN oF AN oFFENDER AS           DESCRTBED By   vrcrM oR wrNESs

  tr    AcroNs   rNDrcATrvE oF "cASrNG,    vrcrM oR LocATroN

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  E     orHER(speciry)     f Onla*i&
  cPD-l1.912   (ifl6)
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    cHtcAGo ALTERNATTVE                POLTCTNG STRATEGY (CAPS)
    SAFE NEIGHBORHOODS ARE EVERYBODY'S BUSINESS
    The police alone cannot solve the problems of crime in our   Ci$.   lt takes an
    ac{ive and informed community working with the police and other City agencies
    to really make a difference. Join your neighbors and your neighborhood polie
    ofiicers as we work together to reduce crime and improve the quality of lile in
    our Cig. Become part of the CAPS team in your communi$. To find out how,
    call 311 or visit online at http:l/www.chicaqooolice.oro.
